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IN THE UNITED STATES DISTRICT COURT
F()R THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIvlsioN 05 AUG 29 PH 5‘ 08
CHARLENE sPINKs, ~ ' -
Piaincin.,
v. No. 03-2568-1)/P

GREG DREW, e¢. al.,

Defendants.

 

' ` ‘ ORDER ()N THE MOTION OF DEFENDANT GREGG DREW FOR
AN EXTENSION OF TIME TO DISCLOSE EXPERTS

 

Before this Court is the Motion of Defendant Gregg Drew for Extension of Time
to Disclose Experts. This Court finds that this motion is well taken and should be granted
lt is, therefore, ordered, adjudged and decreed that the deadline for the disclosure
of experts by defendant Gregg Drew is extended and that this defendant will not be
required to disclose any expert witnesses until sixty (60) days following expert

disclosures by the plaintiff

n"ls so oRDERED,thische <QC\ day of Av%w_vl‘ ,2005.

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UNITED STATES B‘I`SCTR!'€T JUDGE
Maqiyl'rdq;'

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Honorable Bernice Donald
US DISTRICT COURT

